Case 2:05-cr-20106-.]PI\/| Document 25 Filed 08/10/05 Page 1 of 2 Page|D 32

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IN THE UNITED sTATEs DISTRICT CoURT 5 AU
FoR THE wEsTERN DISTRICT oF TENNESSEE , 5 19 PH h= 2|

 

    
 

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UNITED sTATEs oF AMERICA 1 iii:`i"!pfis

VS.

No. 20561'20106
RICHARD SANFORD,

Det`endant.

 

ORDER GRANTING DEFENDANT’S MOTION FOR LEAVE TO FILE
ADDITIONAL MOTIONS UPON COMPLETION OF DISCOVERY

 

Before this Honorable Court is Defendant Richard Sanford’s Motion for
Leave to File Additional Motions Upon Completion of Discovery. lt appearing to this
Court that time beyond the required 30 days for filing of motions is necessary;

IT IS THEREFORE, ORDERED, ADJUDGED AND DECREED that
Defendant’s request for additional time is granted Defendant shall have 30 days after

completion of Discovery to file all pre-trial motions

Entered this the 10 day of é%§ ,2005.
/Q‘;Q /KJIDK(U

Unit States District Court Judge

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UNITED sTATE DRISTIC COURT - WETERN D'S'TRCT oFTENNESSEE

   

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 25 in
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Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Jacob E. Erwin
WAGERMAN LAW FIRM
200 Jefferson Avenue

Ste. l3 l3

l\/lemphis7 TN 38103

Honcrable J on McCalla
US DISTRICT COURT

